Case 1:05-cv-01088-.]DT-STA Document 5 Filed 06/07/05 Page 1 of 2 Page|D 11

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Unlted States Distrlct Court serv 9 D, mo
WESTERN DISTRICT oF TENNESSEE W?L§H§Fu.s. mm (§ITO
Eastern Division ' m JACKSON
LESLIE HIGH JUDGMENT lN A ClV|L CASE
V.
CORRECTIONS CORPORATION OF
AMERICA, et ar cAsE NurvieER: 05_1083-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

|T |S ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 06/07/05, this case is hereby DlSNllSSED Without prejudice
for failure to exhaust administrative remedies. lt is further CERT|F|ED that, pursuant to
28 U.S.C. § 1915(a)(3), any appeal by plaintiff is not taken in good faith and if the
plaintiff wishes to take advantage of the installment procedures for paying the appellate
filing fee, he must comply with the procedures set out in McGore v. Wioolesworth, 114
F.3d 601, 610-11 (Bth Cir. 1997).

APPROVED:

JA S D. TODD
UN ED STATES DISTRICT JUDGE

ROBERT R. Di TROLIO

 

 

CLERK
<?/07/05 BY= ra%§a,
DATE/ ' DEPUTY CLE»RK

This document entered on the docket sheet in complian e
with Ruie 58 andior rs(a) FRCP on [QZ§Z 220 5 . 6

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
ease 1:05-CV-01088 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

Leslie High

86372

P.O. Box 679
Whiteville, TN 38075

Honorable J ames Todd
US DISTRICT COURT

